Case 1:21-cv-11205-FDS   Document 182-4   Filed 01/06/25   Page 1 of 4




                          Exhibit 4

           Amendment No. 1 To
    The 2007 Stock Purchase Agreement
Case 1:21-cv-11205-FDS   Document 182-4   Filed 01/06/25   Page 2 of 4




                                                                         PGIC 30(b)(6)

                                                                          EX 0003
                                                                            T.A. 10.25.23
Case 1:21-cv-11205-FDS   Document 182-4   Filed 01/06/25   Page 3 of 4
Case 1:21-cv-11205-FDS   Document 182-4   Filed 01/06/25   Page 4 of 4
